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13                        UNITED STATES DISTRICT COURT
14                      SOUTHERN DISTRICT OF CALIFORNIA
15     LYAN FRANCIS DE SOUZA, an             Case No. 3:21-cv-01103-JLS-MSB
       individual,
16
                                             PLAINTIFF’S OPPOSITION TO
17                Plaintiff,                 DEFENDANT’S MOTION TO
                                             DISMISS SECOND AMENDED
18     vs.                                   COMPLAINT
19     DAWSON TECHNICAL, INC., a            Date:      September 22, 2022
       Hawaiian Corporation, and DOES 1-50, Time:      1:30 p.m.
20     inclusive,                           Courtroom: 4D
21
                  Defendants.
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 1   I.     INTRODUCTION
 2          Pursuant to Labor Code section 1102.5(b), Plaintiff need only prove that he
 3   was retaliated against because his “employer believe[d] that the employee may
 4   disclose information . . . that the employee has reasonable cause to believe . . . [is] a
 5   violation of state or federal law.” Lab. Code § 1102.5(b). See infra part IV.A.1.a.
 6   The employee need not prove an actual violation. See infra part IV.A.1.b. In fact,
 7   the employee can be mistaken—there may not have even been a violation at all. See
 8   infra part IV.A.1.b-c. However, if the employer choses to retaliate against the
 9   employee because the “employer believes” that the employee “may disclose
10   information,” then the employer violates Labor Code section 1102.5(b).
11          Here, Plaintiff’s SAC pleads detailed facts explaining why Plaintiff believed
12   that Dawson executives Wesley Lane, Billy Cress, and Jeff Bleke were causing
13   Dawson to fraudulently bill the federal government via the entities JBW and ISB
14   Consulting in violation of 13 federal and state statues. See infra parts IV.A.1.c. and
15   IV.A.2. Plaintiff explains that when he brought these facts to the attention of David
16   Johnson and informed Johnson that he intended to report these facts to Dawson
17   management and to the U.S Attorney’s office, that Plaintiff was fired. (SAC, ¶¶ 21-
18   23).
19          Plaintiff’s SAC sufficiently states a causes of action for violation of Labor
20   Code section 1102.5(b). The SAC more than sufficiently “give[s] defendants notice
21   of the particular misconduct . . .so that they can defend against the charge and not
22   just deny that they have done anything wrong.’” Bly-Magee v. California, 236 F.3d
23   1014, 1019 (9th Cir. 2001).
24          Plaintiff respectfully requests that the motion be denied.
25   II.    FACTUAL BACKGROUND
26          Plaintiff Leon DeSouza is a former employee of Defendant Dawson. He was a
27   senior level executive, whose title was the Director of Strategy and Development.
28   He was responsible for business development, sales, and marketing. (SAC, ¶ 10).

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 1          The following is all alleged in the Second Amended Complaint (“SAC”):
 2          Dawson contracts with agencies of the Federal Government including the
 3   Army, Navy, and Air Force, for a variety of construction, operations and
 4   maintenance, environmental, and professional and technical services. Between
 5   2015-2020, Dawson entered into hundreds of contracts with at least 35-40
 6   subcontractors. Defendants invoiced various United States agencies, such as the
 7   Army, Navy, and Airforce, for services performed by its subcontractors. (SAC, ¶
 8   11). In the course of that billing, Defendants represented to the Federal Government
 9   that Dawson’s subcontractors had been paid. (SAC, ¶ 11).
10          Z Geo Data was one of the subcontractors hired by Dawson to perform
11   environmental science services. (SAC, ¶ 12).
12          In early 2020, Plaintiff received a call from Zhen Hua Zhang (“Zhang”),
13   president of Z Geo Data. Zhang notified Plaintiff that he received a document
14   indicating that Dawson had represented to the Federal Government that Z Geo Data
15   had been paid by Dawson when, in fact, it had not. (SAC, ¶ 13).
16          In March of 2020, Plaintiff received a call from a Eugene Sellers (“Sellers”),
17   a former employee of Dawson. Sellers told Plaintiff that he had brought a false
18   claims lawsuit against Dawson’s affiliated entities (the “Sellers Lawsuit”). (SAC, ¶
19   14).
20          These incidents led Plaintiff to investigate these issues. (SAC, ¶ 15). In doing
21   do, Plaintiff learned that Dawson was not paying a number of its subcontractors,
22   despite representing to the Federal Government they had been paid and billing the
23   Federal Government for those payments. (SAC, ¶ 15).
24          Plaintiff further learned that Chris Dawson’s personal accountant, Brian Hara
25   (Chris Dawson is an owner of the Company and the person for which it is named),
26   was withdrawing large sums of money and writing them off as personal loans to Mr.
27   Dawson. This led Plaintiff to believe that this was the reason subcontractors were
28   not being paid. (SAC, ¶ 16).

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 1         Plaintiff’s role was Director of Strategy and Development; in that role he was
 2   responsible for recruiting subcontractors. As part of his investigation, Plaintiff also
 3   saw names of Dawson subcontractors that he did not recognize, two of which were
 4   JBW and ISB Consulting. Plaintiff believed that these were illegitimate (essentially,
 5   fake) subcontractors. JBW are the initials of the surnames of three of Dawson’s
 6   senior managers: Wesley Lane, Billy Cress, and Jeff Bleke. Plaintiff learned that
 7   Dawson had billed the agencies of the United States Army, Navy, and Air Force for
 8   “management and consulting services” performed by JSB and ISB when Plaintiff
 9   knew, by reason of his position at Dawson, that no such “management and
10   consulting services” had ever been performed. Based on this investigation, Plaintiff
11   concluded Dawson was defrauding the Federal Government. (SAC, ¶ 17).
12         In addition, through his investigation, Plaintiff learned that Chris Dawson had
13   caused Dawson to pay for his personal expenses. This increased Dawson’s
14   calculation of Dawson’s General and Administrative (“G&A”) expenses, a
15   percentage of which were likewise billed to the Federal Government. Given that
16   these G&A expenses were inflated, this likewise caused the invoices to be
17   fraudulent. (SAC, ¶ 18).
18         On or about March 31, 2020, Plaintiff informed a co-worker, Juan Herrada,
19   that he was going to speak with his direct superior, Dave Johnson, regarding the
20   fraud he had discovered. Plaintiff further represented that he would be reporting the
21   fraud to the United States Attorney. (SAC, ¶ 19).
22         Later that same day, Plaintiff received a phone call from Dave Johnson, in
23   which Mr. Johnson stated that he had received a call from Juan Herrada, informing
24   him that Plaintiff intended to report Dawson’s unlawful activities to the United
25   States Attorney. Plaintiff stated to Mr. Johnson that because he was a senior
26   manager, he was obligated to come forward when there was evidence of fraud and
27   wrongdoing, especially with respect to Dawson’s federal contracts. Plaintiff
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 1   informed Mr. Johnson that Plaintiff needed to discuss the issue further with
 2   management. (SAC, ¶ 20).
 3          Mr. Johnson became hostile, and Plaintiff asked Johnson whether his job was
 4   in jeopardy. Johnson responded that: “You are the one who told me, I should always
 5   keep my options open.” Mr. Johnson told Plaintiff that they would have a follow up
 6   phone discussion the following morning. (SAC, ¶ 21).
 7          The very next morning, on or around April 1, 2020, Plaintiff received a phone
 8   call from Mr. Johnson. During that phone call, Mr. Johnson informed Plaintiff that
 9   he was being terminated due to “restructuring” in the company. (SAC, ¶ 22).
10          There had been no discussion with Plaintiff of any restructuring of his
11   position prior to the phone call on April 1, 2020. Plaintiff believes, and thereon
12   alleges that a purported “restructuring” was merely pretext for his termination, and
13   that the termination was being driven management’s belief that Plaintiff intended to
14   report his good-faith belief in the existence of fraudulent activities he had
15   discovered and because of his desire to raise his concerns further with Defendant.
16   (SAC, ¶ 23).
17   III.   PROCEDURAL BACKGROUND
18          Plaintiff’s initial complaint was removed from state court on June 14, 2021.
19   [Dkt. 1]. On June 17, 2021, Defendant filed a Motion to Dismiss alleging that: [1]
20   Plaintiff’s complaint was time barred, and [2] Plaintiff failed to allege the actual
21   state or federal statute that he believed may have been violated. [Dkt. 6]. Other than
22   alleging that Plaintiff needed to identify the specific statutes, Defendant did not
23   argue that Plaintiff needed to meet the heightened pleading standard for fraud. [Dkt.
24   6]. On February 1, 2022, this Court rejected Defendant’s statute of limitations
25   argument but held that Plaintiff did need to identify the specific statutes that he
26   believed may have been violated and gave leave to file amended complaint. [Dkt.
27   21]. Plaintiff filed a First Amended Complaint (“FAC”) on March 1, 2022. [Dkt.
28   23].

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 1          On April 15, 2022, after asking for an extension (to Answer), and without
 2   meeting and conferring, Defendant filed a Motion to Dismiss alleging that the FAC
 3   did not contain the specificity required by Rule 9(b). [Dkt. 27].
 4          Rather than argue about the specificity, Plaintiff prepared a proposed Second
 5   Amended Complaint (“SAC”) that addressed all of the issues set forth in
 6   Defendant’s motion. [Dkt. 30]. Defendant refused to meet and confer, instead
 7   stating only generally that the SAC was insufficiently pled. [Dkt. 30]. As a result,
 8   Plaintiff filed an ex parte application for leave to file the SAC which Defendant also
 9   opposed. [Dkt. 30, 32]. The Court granted the ex parte application, and Plaintiff
10   filed the SAC. [Dkt. 34, 37]. Again, without meeting and conferring, Defendant
11   filed this motion to dismiss, contending that even more specificity is required. [Dkt.
12   36].
13   IV.    DISCUSSION
14          A.     Plaintiff’s First Cause of Action for Violation of Labor Code
15                 Section 1102.5(b)
16                 1.    Legal Standard
17                       a.     Overview of Labor Code Section 1102.5(b)
18          “California Labor Code § 1102.5(b) is a whistle-blower statute that protects
19   employees from retaliation when they have ‘reasonable cause to believe’ that their
20   employer is in ‘violation of state or federal statute’ or ‘local, state, or federal rule or
21   regulation.’” Clevland v. Ludwig Institute for Cancer Research Ltd., 2022 WL
22   80265 at *4 (S.D. Cal. 2022) (quoting Lab. Code § 1102.5(b)).
23          Section 1102.5(b) states:
24                 (b) An employer, or any person acting on behalf of the
25                 employer, shall not retaliate against an employee for disclosing
                   information, or because the employer believes that the
26                 employee disclosed or may disclose information, to a
27                 government or law enforcement agency, to a person with
                   authority over the employee or another employee who has the
28                 authority to investigate, discover, or correct the violation or
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                   noncompliance, . . . if the employee has reasonable cause to
 1
                   believe that the information discloses a violation of state or
 2                 federal statute, or a violation of or noncompliance with a local,
                   state, or federal rule or regulation . . . .
 3

 4    Cal. Lab. Code § 1102.5(b) (emphasis added).
 5          The crux of section 1102.5 is the employer’s retaliation against the employee
 6    “because the employer believes that the employee disclosed or may disclose
 7    information . . . that the employee has reasonable cause to believe that the
 8    information discloses a violation of state or federal statute.” Lab. Code § 1102.5(b)
 9    (emphasis added).
10                        b.     The Employee Need Not Prove an Actual Violation of
11                               Any Underlying Statute—Only That the Employee
12                               “Reasonably Believed” That That There Was a
13                               Violation. In Fact, Under Labor Code Section
14                               1102.5(b), The Employee Can Be Wrong—There May
15                               Not Have Been a Violation at All.
16          Notably, the employee does not need to prove that there was an actual
17    “violation of [any] state or federal statute.” Id. To the contrary, as this Court
18    previously noted (see Dkt No. 21 at 8:7-9), “[t]he employee must have an actual
19    belief that the employer’s actions were unlawful and the employee’s belief, even if
20    mistaken, must be reasonable.” Tam v. Qualcomm, Inc., 300 F. Supp. 3d 1130, 1148
21    (S.D. Cal. 2018) (emphasis added) (citing Carter v. Escondido Union High Sch.
22    Dist., 148 Cal. App. 4th 922, 933–34 (2007)). In that regard, there may not have
23    even been an actual violation. That is because the Legislature sought to remedy
24    retaliation against the employee even if the employee was wrong.
25          The Ninth Circuit, in Lukov v. Schindler Elevator Corp., 594 Fed. Appx 357,
26    358 (9th Cir. 2015), explained:
27
                   The district court also erred in granting summary judgment
28                 against Lukov on his claim under California Labor Code §

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                      1102.5. Even assuming, for the sake of argument, that Lukov
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                      was mistaken about whether state regulations prohibited the
 2                    specific location of the shunt trip at issue, Lukov came forward
                      with evidence from which a trier of fact could find that he had
 3
                      “reasonable cause to believe” (which is all that the statute
 4                    requires) that the shunt trip’s placement violated safety
                      regulations. California Labor Code § 1102.5 protects whistle
 5
                      blowers if they act with reasonable cause to believe that a rule
 6                    or regulation was violated, even if they turn out to be wrong.
 7    Id. at 358; see also Clevland v. Ludwig Institute for Cancer Research Ltd., 2022 WL
 8    80265 at *4 (S.D. Cal. 2022) (emphasis added) (“Even assuming Kolodner was
 9    mistaken, Plaintiffs may still come forward with evidence from which a trier of fact
10    could find Kolodner had “reasonable cause to believe” Defendant’s actions violated
11    California Labor Code § 204(a). This is all that California Labor Code § 1102.5
12    requires.”); Green v. Ralee Engineering Co., 19 Cal.4th 66, 87 (1998) (“an
13    employee need not prove an actual violation of law; it suffices if the employer fired
14    him for reporting his “reasonably based suspicions” of illegal activity. . . . [¶]
15    [P]laintiff’s suspicion that defendant’s conduct may have violated the act and its
16    regulations was certainly “’reasonably based.’”) (emphasis added) (superseded by
17    statute on other grounds); Devlyn v. Lassen Mun. Utility Dist., 737 F.Supp.2d 1116,
18    1124 (2010) (“Defendant's argument inappropriately alters the definition of
19    “protected activity,” implying that the person reporting the suspected violation must
20    be correct in order to be protected. That is not what the statute requires. “Reasonable
21    cause” is the relevant standard, and here Defendant has alleged that he reasonably
22    believed that a statute was being violated.”) (emphasis added); Nejadian v. County
23    of Los Angeles, 40 Cal.App.5th 703, 719 (2019) (“the employee must show only that
24    he or she reasonably believed that there was a violation of a statute, rule, or
25    regulation”).
26                          c.     Plaintiff Need Only Show “Some Legal Foundation”
27                                 For His Suspicion of Illegal Activity; Plaintiff Need Not
28                                 Plead an Actual Violation
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 1          “To have a reasonably based suspicion of illegal activity, the employee must
 2    be able to point to some legal foundation for his suspicion—some statute, rule or
 3    regulation which may have been violated by the conduct he disclosed.” Turner v.
 4    City and County of San Francisco, 892 F.Supp.2d 1188, 1199 (N.D. Cal. 2012)
 5    (emphasis added); accord Jadwin v. County of Kern, 610 F.Supp.2d 1129, 1153
 6    (E.D. Cal. 2009).
 7          Only in cases where the Plaintiff failed to identify any underlying violation,
 8    have the courts found the Plaintiff’s pleading insufficient. See Love v. Motion
 9    Indus., Inc., 309 F.Supp.2d 1128, 1135 (N.D.Cal.2004) (“Plaintiff does not cite any
10    statute, rule, or regulation that may have been violated by the disclosed conduct.
11    Rather, he argues simply that he reasonably believed that the activity violated some
12    unnamed statute, rule, or regulation.”) (emphasis added); see also Clevland v.
13    Ludwig Institute for Cancer Research Ltd., 2022 WL 80265 at *4 (S.D. Cal. 2022)
14    (“allegation that . . . Defendant violated some provision of 2 CFR Part 200 is
15    insufficient . . . .) (emphasis added); Fleeman v. County of Kern, 2021 WL 1221469,
16    at *5 (E.D. Cal. 2021) (“Plaintiff’s complaint also fails to identify what statute, rule,
17    or regulation that he believed the County violated”); La v. San Mateo Cty. Transit
18    Dist., 2014 WL 4632224, at *5 (N.D. Cal. 2014) (“La completely fails to connect
19    the misconduct she allegedly disclosed to a specific rule, regulation or statute.”).
20          Finally, “[w]hether [Plaintiff’s] belief was, in fact, reasonable cannot be
21    answered at the pleading stage.’” Clevland v. Ludwig Institute for Cancer Research
22    Ltd., 2022 WL 80265 at *4 (S.D. Cal. 2022) (internal quotations omitted).
23                 2.     Plaintiff’s SAC More Than Sufficiently Pleads a Cause of
24                        Action for Violation of Labor Code Section 1102.5(b)
25          The foregoing legal standard makes clear that Plaintiff’s SAC more than
26    sufficiently states a cause of action violation of Labor Code section 1102.5(b).
27          Plaintiff’s SAC sets forth in detail the background facts that lead Plaintiff to
28    learn that Dawson was billing the federal government for subcontractors that had not

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 1    been paid. (SAC, ¶¶ 12-16). DeSouza then conducted an investigation and
 2    discovered the following:
 3                   Plaintiff’s role was Director of Strategy and Development; in
 4                   that role he was responsible for recruiting subcontractors. As
                     part of his investigation, Plaintiff also saw names of Dawson
 5                   subcontractors that he did not recognize, two of which were
 6                   JBW and ISB Consulting. Plaintiff believed that these were
                     illegitimate subcontractors. JBW are the initials of the surnames
 7                   of three of Dawson’s senior managers: Wesley Lane, Billy
 8                   Cress, and Jeff Bleke. Plaintiff learned that Dawson had billed
                     the agencies of the United States Army, Navy, and Air Force for
 9                   “management and consulting services” performed by JSB and
10                   ISB when Plaintiff knew, by reason of his position at Dawson,
                     that no such “management and consulting services” had ever
11                   been performed. Based on this investigation, Plaintiff
12                   concluded Dawson was defrauding the Federal Government.

13    (SAC, ¶ 17) (emphasis added).
14                   In addition, through his investigation, Plaintiff learned that
15                   Chris Dawson had caused Dawson to pay for his personal
                     expenses. This increased Dawson’s calculation of Dawson’s
16                   General and Administrative (“G&A”) expenses, a percentage of
17                   which are likewise billed to the Federal Government. Given
                     that these G&A expenses were inflated, this likewise caused the
18
                     invoices to be fraudulent.
19
      (SAC, ¶ 18).
20
            Plaintiff’s SAC then proceeds to explain that in 2019 and 2020 Dawson’s
21
      executives Wesley Lane, Billy Cress, and Jeff Bleke created entities “JBW and ISB
22
      Consulting,” that “Dawson had billed the agencies of the United States Army, Navy,
23
      and Air Force for ‘management and consulting services’ performed by JSB and
24
      ISB,” that “Plaintiff knew, by reason of his position at Dawson (Director of Strategy
25
      and Development in which he was responsible for recruiting subcontractors), that no
26
      such ‘management and consulting services’ had ever been performed.” (SAC, ¶ 17;
27
      see also SAC at ¶¶ 29, 32, 35, 38, 41, 44, 50, 53, 56, 59, 62, and 65). The same was
28
      true of Chris Dawson’s fraudulent billing of increased G&A expenses. Plaintiff’s
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 1    SAC explains in detail that this conduct violates 13 state and federal statutes. (See
 2    SAC at ¶¶ 29, 32, 35, 38, 41, 44, 50, 53, 56, 59, 62, and 65).
 3          For example, as to 18 U.S.C. § 287, Plaintiff’s SAC states:
 4                 29. Here, Defendants, violated 18 USC § 287 by engaging in
 5                 the following conduct: [1] knowingly presenting false invoices
                   to the Army, Navy, and Air Force, from at least the calendar
 6                 years 2019 and 2020 and likely earlier, [2] the invoices were
 7                 based on services that had not been performed and for inflated
                   G&A expenses, [3] Dawson executives Chris Dawson, Wesley
 8                 Lane, Billy Cress and Jeff Bleke knew that the invoices were
 9                 based on services that had not been performed, and [4] Chris
                   Dawson Wesley Lane, Billy Cress and Jeff Bleke knew that the
10                 invoices were based on services that had not been performed.
11
      (Dkt 37 at ¶ 29).
12
            Defendant’s Opposition does not address the legal standards cited above.
13
      Instead, Defendant contends “Plaintiff’s generic allegations fail to provide any of
14
      the detail necessary to establish that any alleged fraud took place.” (Motion at
15
      12:12-13). But Plaintiff does not need to “establish that any alleged fraud took
16
      place.” Plaintiff need only plead facts to allege that “he reasonably believed that a
17
      statute was being violated.” Devlyn v. Lassen Mun. Utility Dist., 737 F.Supp.2d
18
      1116, 1124 (2010).
19
            Citing paragraphs 12-13 of the SAC, Defendant then contends that “Plaintiff,
20
      however, completely fails to identify who made such representations on behalf of
21
      Defendant, when it was made, as to which contract such representations pertained.”
22
      (Mot. at 12:12-23). Defendant continues to argue that “Plaintiff completely fails to
23
      provide ‘the names of the persons who made the allegedly fraudulent
24
      representations, their authority to speak, to whom they spoke, what they said or
25
      wrote, and when it was said or written.’” (Mot. at 5-7).
26
            Defendant ignores that paragraphs 12-13 of the SAC merely provide the
27
      background that led to Plaintiff’s investigation that discovered the actual fraud.
28
      (Mot. at 12:12-23). The SAC later sets forth that in 2019 and 2020 Dawson’s
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 1    executives Wesley Lane, Billy Cress, and Jeff Bleke caused Defendant to
 2    fraudulently bill the federal government through their entities JBW and ISB
 3    Consulting.” (SAC, ¶ 17; see also SAC at ¶¶ 29, 32, 35, 38, 41, 44, 50, 53, 56, 59,
 4    62, and 65).
 5          Defendant argues that “Plaintiff fails to even aver as to a reasonable belief
 6    that these companies were illegitimate or how the transactions alleged were illegal
 7    in any way.” (Mot. at 13:16-22). But the SAC explains that Defendant’s executives
 8    billed the federal government for services that were not performed and how
 9    Defendant’s practice violated 13 state and federal statutes. (SAC, ¶¶ 27-65). This is
10    more than sufficient to plead Plaintiff’s “reasonable belief” that Defendant’s
11    conduct violated “some statute, rule or regulation which may have been violated by
12    the conduct he disclosed.” Turner v. City and County of San Francisco, 892
13    F.Supp.2d 1188, 1199 (N.D. Cal. 2012). Plaintiff’s SAC bears no resemblance to the
14    cases where 12(b)(6) motions have been granted because there the plaintiffs failed to
15    identify “what statute, rule, or regulation that he believed [was] violated.” Fleeman
16    v. County of Kern, 2021 WL 1221469, at *5 (E.D. Cal. 2021).
17          Defendant also contends that Plaintiff “fails to allege . . . that these executives
18    knew that the invoices were based on services that had not been performed and for
19    inflated G&A expenses.” (Mot. at 15:19-23). But the SAC specifically alleges that
20    JBW and ISB Consulting were named after these individuals, that the companies did
21    not perform the services reflected in the government invoices, and that “Dawson
22    executives Chris Dawson, Wesley Lane, Billy Cress and Jeff Bleke knew that the
23    invoices were based on services that had not been performed.” (SAC, ¶¶ 17, 29). As
24    a result, in addition to the fact that Plaintiff did plead Defendant’s knowledge with
25    specificity, this is not even required by Rule(b) which specifically allows that,
26    “malice, intent, knowledge, and other conditions of a person's mind may be alleged
27    generally.” F.R.C.P. 9(b).
28

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 1          Defendant places great emphasis on Kearns v. Ford Motor Co., 567 F.3d
 2    1120 (9th Cir. 2009). Kearns is not a Labor Code section 1102.5(b) case. Instead,
 3    Kearns was an unfair competition case, in which the plaintiff, Kearns, contended
 4    that he was defrauded by Ford to purchase a Certified Pre-Owned Vehicle (“CPO”)
 5    based on a series of fraudulent television advertisements and sales material. Id. at
 6    1126-1127. However, Kearns did not “specify what the television advertisements or
 7    other sales material specifically stated. Nor did Kearns specify when he was
 8    exposed to them or which ones he found material. Kearns also failed to specify
 9    which sales material he relied upon in making his decision to buy a CPO vehicle.”
10    Id. As set forth above, here, Plaintiff asserts a Labor Code section 1102.5(b) claim
11    which does not require proof of the elements of fraud—only a reasonable suspicion
12    that the violation of a statute occurred. Further, here, unlike Kearns where the
13    Plaintiff failed to identify how he was deceived by any of the fraudulent material or
14    what those advertisements stated, here, Plaintiff alleges specifically the “the who,
15    what, when, where, and how’ of the misconduct charged.” Id. at 1124. Plaintiff’s
16    complaint is “specific enough to give defendants notice of the particular
17    misconduct.” Id.
18          Further, as Defendant recognizes, “the rule may be relaxed as to matters
19    peculiarly within the opposing party's knowledge. . . . Such an exception exists
20    where, as in cases of corporate fraud, the plaintiffs cannot be expected to have
21    personal knowledge of the facts constituting the wrongdoing.” Wool v. Tandem
22    Computers, 818 F.2d 1433, 1439 (9thCir. 1987). In Wool, a securities fraud case, the
23    plaintiff pled fraud based on “information and belief” based on statements made in a
24    SEC criminal complaint that had been filed against the defendant corporation. The
25    plaintiff’s allegations were borrowed entirely from what the SEC had alleged. The
26    Ninth Circuit held that this was sufficient under the circumstances because the
27    details of the fraud were in the defendant’s knowledge. In addition, individual
28    corporate defendants moved to dismiss, “for failing to attribute particular fraudulent

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 1    statements or acts to each individual defendant.” Id. at 1440. The Ninth Circuit
 2    disagreed because “the individual defendants are a narrowly defined group of
 3    officers who had direct involvement not only in the day-to-day affairs of [the
 4    Defendant corporation], but also in [its] financial statements in particular.” Id. at
 5    1441.
 6            Here, Plaintiff has sufficiently alleged Defendant’s wrongdoing based on his
 7    own personal knowledge, unlike Wool which was pled on “information and belief”
 8    based on what had been previously pled in an SEC complaint. Plaintiff cannot be
 9    expected, and is not required to know, every detail regarding Defendant’s fraudulent
10    billing particularly where that information is within the knowledge of Defendant.
11    Further, again, this is not a fraud case, but a retaliation case, and Plaintiff does not
12    even need to prove the fraud actually occurred. Further, here, Plaintiff provided
13    more detail regarding the identity of Defendant’s officers than was provided in
14    Wool. In Wool, plaintiff only identified the corporate actors by group and not by
15    name as Plaintiff did here.
16            Finally, as the case law cited by Defendant provides, the level of specificity
17    required at the pleading stage is only “specific enough to give defendants notice of
18    the particular misconduct . . .so that they can defend against the charge and not just
19    deny that they have done anything wrong.’” Bly-Magee v. California, 236 F.3d
20    1014, 1019 (9th Cir. 2001). Here, Plaintiff’s SAC sets forth “the circumstances
21    constituting fraud so that the defendant can prepare an adequate answer from the
22    allegations.” Odom v. Microsoft Corp., 486 F.3d 541, 554 (9th Cir. 2007) (“Rule 9(b)
23    ‘requires the identification of the circumstances constituting fraud so that the
24    defendant can prepare an adequate answer from the allegations.’”); Wool v. Tandem
25    Computers, 818 F.2d 1433, 1439 (9th Cir. 1987) (“pleading is sufficient under Rule
26    9(b) if it identifies the circumstances constituting fraud so that the defendant can
27    prepare an adequate answer from the allegations. While mere conclusory allegations
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 1    of fraud are insufficient, statements of the time, place and nature of the alleged
 2    fraudulent activities are sufficient.”) (internal citations and quotations omitted).
 3                 3.     Plaintiff Sufficiently Alleges That He Engaged in Protected
 4                        Activity
 5          Labor Code section 1102.5(b) not only protects against retaliation where an
 6    employee makes an actual report of unlawful activity but also where “the employer
 7    believes that the employee disclosed or may disclose information, to a government
 8    or law enforcement agency, to a person with authority over the employee or another
 9    employee who has the authority to investigate, discover, or correct the violation or
10    noncompliance. Labor Code § 1102.5(b) (emphasis added).
11          In the FAC, Plaintiff alleged that he told his supervisor, Dave Johnson, that
12    “Plaintiff intended to file a complaint against Defendant.” (Dkt. No. 23, ¶ 14 at
13    5:23). In the SAC, Plaintiff elaborated that he “intended report Dawson’s unlawful
14    activities to the United States Attorney.” (SAC, ¶ 20). Both in the FAC and the SAC
15    Plaintiff also alleged that he told Johnson that “Plaintiff needed to discuss the issue
16    further with management.” (Dkt. No. 23, ¶ 14 at 5:28; SAC, ¶ 20). The SAC
17    explains that Defendant then retaliated against Plaintiff by firing him. (SAC, ¶¶ 21-
18    22). This is more than sufficient to state a claim under Labor Code section 1102.5(b)
19    that Plaintiff was fired because his “employer believe[d] that the employee may
20    disclose information . . . . to a government or law enforcement agency, [or] to a
21    person with authority over the employee . . . .” Labor Code § 1102.5(b).
22          Defendant argues that the Court should disregard the threatened report to the
23    U.S. Attorney’s Office because this level of detail should have been included in the
24    FAC and that Plaintiff “only intended to report the alleged misconduct to his direct
25    superior.” (Motion at 16:7-9). This argument fails. First, even if the pleadings were
26    inconsistent, which they are not, the Ninth Circuit has held that is not grounds to
27    grant a 12(b)(6) motion:
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                   The district court has no free-standing authority to strike
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                   pleadings simply because it believes that a party has taken
 2                 inconsistent positions in the litigation. Rather, the district
                   court’s powers are generally limited to those provided by the
 3
                   Federal Rules of Civil Procedure. Though the Federal Circuit
 4                 reached a contrary conclusion in Bradley v. Chiron Corp., 136
                   F.3d 1317, 1326 (Fed.Cir.1998), no other court of appeals has
 5
                   followed that decision, and we decline to do so.
 6
                   The short of it is that there is nothing in the Federal Rules of
 7                 Civil Procedure to prevent a party from filing successive
 8                 pleadings that make inconsistent or even contradictory
                   allegations. Unless there is a showing that the party acted in bad
 9                 faith—a showing that can only be made after the party is given
10                 an opportunity to respond under the procedures of Rule 11—
                   inconsistent allegations are simply not a basis for striking the
11                 pleading. The district court’s order, which is based on the
12                 contrary conclusion, must be reversed.

13    PAE Government Services, Inc. v. MPRI, Inc., 514 F.3d 856, 859-860 (2007).
14          Second, the allegations are not in any way inconsistent, and certainly not a
15    “sham.” Plaintiffs’ FAC alleges that Plaintiff told his supervisor that “Plaintiff
16    intended to file a complaint against Defendant.” (Dkt. 23, ¶ 14 at 5:23). In the SAC,
17    Plaintiff elaborated that the complaint he intended to file was a “report [of]
18    Dawson’s unlawful activities to the United States Attorney.” (SAC, ¶ 20). This is
19    simply additional detail and is in no way “inconsistent,” and to hold otherwise
20    would violate the rule that the complaint read “in the light most favorable to
21    Plaintiff” and that allegations “are assumed to be true for purposes of the motion.” 1
22    Odom v. Microsoft Corp., 486 F.3d 541, 554 (9th Cir. 2007).
23          Third, Plaintiff alleged both in the FAC and the SAC that he told Johnson that
24    he “needed to discuss the issue further with management” which independently
25

26
      1
       The same is true of Plaintiff’s having previously pled on information and belief.
27
      There is nothing inconsistent about having previously pled that Plaintiff “believed”
28    something occurred and subsequently pleading that it did in fact occur. These
      allegations are entirely consistent.
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 1    satisfies Labor Code section 1102.5(b) because “management” constitutes “a person
 2    with authority over the employee . . . .” Labor Code § 1102.5(b).
 3          Watson v. Old Dominion Freight Line, Inc., 2020 WL 10357171 (C.D. Cal.
 4    2020), cited by Defendant, is inapplicable. In Watson, the plaintiff attempted to
 5    bring a Labor Code section 1102.5(b) claim based on his supervisor’s conduct
 6    where he only complained about the conduct to the supervisor himself and never
 7    threatened or suggested he was going to report the conduct to anyone else. For that
 8    reason, the district held the section 1102.5(b) was not sufficiently pled. Id. at *5
 9    (“An employee’s report to a supervisor about the supervisor’s own wrongdoing does
10    not establish a claim for retaliation under § 1102.5.”). In contrast, here, Plaintiff told
11    Johnson that he was going to report the conduct of Dawson, Lane, Cress, and Bleke
12    to the U.S. Attorney’s Office and to management. That is, Plaintiff was not
13    complaining about Johnson’s conduct to Johnson as was the situation in Watson.
14          B.     Plaintiff’s SAC Sufficiently States a Third Cause of Action for
15                 Wrongful Termination in Violation of Public Policy
16          Defendant also moves to dismiss Defendant’s Third Cause of Action for
17    Wrongful Termination in Violation of Public Policy on the grounds that it fails to
18    meet the specificity requirements of Rule 9(b). For the reasons set forth above,
19    Defendant’s arguments fail.
20          C.     If For Any Reason the Court Finds That More Specificity is
21                 Required, Leave to Amend Should be Granted
22          If for any reason the Court finds more specificity is required, Plaintiff should
23    be given leave to amend as there could be no finding that Plaintiff could not cure
24    any alleged deficiency by amendment. Schreiber Distributing Co. v. Serv-Well
25    Furniture Co., Inc., 806 F2d 1393, 1401 (9th Cir. 1986) (“Because the district court
26    did not determine, nor can we conclude, that the allegation of other facts could not
27    possibly cure the deficiencies in Schreiber’s complaint, the district court abused its
28    discretion in dismissing the RICO counts with prejudice.”).

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 1    V.    CONCLUSION
 2          For the foregoing reasons, Plaintiff respectfully requests that the motion be
 3    denied.
 4
       DATED: September 8, 2022        THE KNEAFSEY FIRM, INC.
 5

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 7                                     By __________________________________
                                             Sean M. Kneafsey
 8                                     Attorneys for Plaintiff
                                       LYAN FRANCIS DE SOUZA
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